
ORDER
Considering the record of these matters,
IT IS ORDERED that respondent, Donald Ray Smith, Louisiana Bar Roll number 24881, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the matter bearing this court’s docket number 08-B-2567 be remanded to the disciplinary board for consolidation with the proceedings numbered 08-DB-025 and 08-DB-043. After appropriate consideration of the consolidated matters, the board is directed to issue a single recommendation of *1131discipline to this court encompassing all disciplinary matters involving respondent.
/s/ Bernette J. Johnson Justice, Supreme Court of Louisiana
